                           EXHIBIT LIST
1    EMPLOYMENT OFFER (Print/Screenshot Versions) 4 pgs.

2    VOICE MAIL MESSAGES FROM TWO PETLAND AGENTS

3    TEXT MESSAGE FROM YESSI OFFERING PLAINTIFF THE JOB

4    SCREENSHOT TEXT MESSAGES TIME CLOCK YESSI

5    EMPLOYEE WORK SCHEDULE WEEK OF AUGUST 20, 2018

6    EMPLOYEE WORK SCHEDULE WEEK OF AUGUST 27. 2018

7    TEXT MESSAGE FROM ALLISON

8    PAY STUB FOR $205

9    TEXT COMPLAINT TO ALLISON

10   TEXT COMPLAINT TO ALLISON

11   TEMINATION TEXT FROM ALLISON

12   LETTER OF DEMAND (2 pgs.)

13   DEFENDANTS’ REPLY TO DEMAND LETTER (through counsel)

14   GOOGLE TIMELINE FOR AUGUST 13, 2018

15   GOOGLE TIMELINE FOR AUGUST 16, 2018

16   SCREENSHOT FOR “KENNEL TECNICIAN” RECEIVED IN
     RESPONSE TO DEMAND
17   PAY STUB FOR ALLEGED DIRECT DEPOSIT

18   EMAIL FROM ANGIE AT CELLER LEGAL

19   CELLER TO FILE ON APRIL 6, 2019

20   CELLER TO FILE ON MAY 6, 2019

21   CELLER WITHDRAWAL EMAIL
22   CEASE AND DESIST LETTER

23   FACEBOOK PAGE ADMINISTRATOR

24   CHANGE.ORG

25   THE PETITION SITE

26   PLAINTIFF’S EMAIL TO DEFENDANTS’ COUNSEL

27   POOCHES OF LARGO V. MELANIE MOORE CASE DOCKET

28  WORK SCHEDULE FOR WEEK AFTER TERMINATION
    SEPTEMBER 3, 2018
29- STATEMENT BY DEFENDANTS’ EMPLOYEE PERTAINING TO PAY
39
40 ZIPRECRUITER.COM PETLAND WAGE/SALARY DATA 2018
